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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                   CASE NO. 2:19-cv-01170- MSG

STEWART SMITH, individually and on
behalf of all others similarly situated,

        Plaintiff,

v.

EGV COMPANIES, INC.,
a Missouri Limited Liability Company,

      Defendants.
_______________________________________/


     DEFENDANT EGV COMPANIES, INC’S FRCP 7.1 DISCLOSURE STATEMENT
        Pursuant to Federal Rule of Civil Procedure 7.1, Defendant, EGV COMPANIES, INC.
(“EGV”), makes the following disclosures:

        1.       Parent Corporation.
                 The parents of EGV, if any, are not corporations.
        2.       Publicly Held Corporation.
                 EGV is not a publicly held company and no publicly held corporations own 10%
                 or more of its stock or interests.

Dated: May 16, 2019                                       Respectfully submitted,
                                                          /s/ Thomas J. Campenni____
                                                          THOMAS J. CAMPENNI
                                                          Email: tcampenni@rjglaw.com
                                                          Rosenn, Jenkins & Greenwald, LLP
                                                          15 South Franklin Street
                                                          Wilkes-Barre, PA 18711-0075

                                                          Attorneys for EGV Companies, LLC



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STEWART SMITH, individually and on
behalf of all others similarly situated,

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EGV COMPANIES, INC., a Missouri Limited
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_______________________________________/


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of May, 2019, I electronically filed the

foregoing Disclosure Statement with the Clerk of the Court by using the Court’s CM/ECF

system. I also certify that the foregoing is being served this day on all counsel of record via

transmission of Notices of Electronic Filing generated by CM/ECF.



                                           Respectfully submitted,

                                           By: /s/ Thomas J. Campenni
                                              THOMAS J. CAMPENNI
                                              Email: tcampenni@rjglaw.com
                                              ROSENN, JENKINS & GREENWALD, LLP
                                              15 South Franklin Street
                                              Wilkes-Barre, PA 18711-0075
                                              Tel: (570) 826-5652
                                              Fax: (570) 706-3437


                                               Attorneys for EGV Companies, LLC

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